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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION


GARY LENION MCDONALD,

       Movant,

v.                                            CaseNo.CV616-099
                                                      CR612-005
UNITED STATES OF AMERICA,

       Respondent.

                                ORDER

       After a careful de novo review of the record in this case, the Court

concurswith the Magistrate Judge's Report and Recommendation,to which

no objections have been filed.           Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

       SO ORDERED this




                                           STATES DISTRICT JUDGE
                                              DISTRICT OF GEORGIA
